                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                                  No. 7:16-CV-30

 BONNIE PELTIER, as Guardian of                   )
 A.P., a minor child, et al.,                     )
                                                  )
                               Plaintiffs         )
                                                  ) NOTICE OF SUBSTITUTION OF
                                                  ) COUNSEL
        v.                                        )
                                                  )
 CHARTER DAY SCHOOL, INC., et al,                 )
                                                  )
                            Defendants.           )


       In accordance with Local Civil Rule 5.2(c), attorney Galen Sherwin respectfully requests

the Clerk of the Court to withdraw her appearance as counsel for Plaintiffs. Ms. Sherwin has

departed from the American Civil Liberties Union Foundation and thus no longer represents

Plaintiffs. Attorney Ria Tabacco Mar from the American Civil Liberties Union Foundation is

substituting as counsel for Plaintiffs and certifies by her signature below that she is aware of and

will comply with all pending deadlines in this action.



Dated: November 22, 2022                          Respectfully submitted,

                                                 /s/ Ria Tabacco Mar
                                                 Ria Tabacco Mar
                                                 American Civil Liberties Union Foundation
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                                                 rmar@aclu.org
                                                 New York Bar No. 4693693
                                                 Attorney for Plaintiffs




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                               /s/ Galen Sherwin
                               Galen Sherwin
                               New York Bar No. 4232682




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                                CERTIFICATE OF SERVICE

I certify that I have electronically filed the foregoing Notice of Substitution of Counsel with the
CM/ECF system, which will send electronic notification to counsel of
record for all parties.

Dated: November 22, 2022                                                Respectfully submitted,

                                                                         /s/ Ria Tabacco Mar
                                                                         Ria Tabacco Mar




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